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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO


IN RE:                                                         CHAPTER 13
                                                               CASE: 18-18627-JGR
DENNIS K. OBDUSKEY

         DEBTOR.



             TRUSTEE’S OBJECTION TO PROPERTY CLAIMED AS EXEMPT


       The Standing Chapter 13 Trustee, pursuant to F.R.B.P. 4003 hereby objects to property
claimed as exempt as set forth on Debtor’s Schedule C and as grounds therefore states as follows:

         1. To the extent the Debtor claims an exemption in the value of any real property recovered
            as part of Debtor’s United States Supreme Court case No. 2017-1307, the Trustee objects.
            It is also unclear exactly what asset an exemption is being claimed on. Based on the
            description provided in the Schedules, the Trustee is unable to to determine the nature of
            the exemption or whether C.R.S. 13-54-102(m) applies.

        WHEREFORE, the Standing Chapter 13 Trustee requests that the Court deny the exemption
in the property claimed by the debtor and to require debtor to reconcile the non-exempt portion of the
property in the Chapter 13 plan.

         November 21, 2018
                                               Respectfully submitted,

                                                /s/   William R. Evans
                                               William R. Evans, #36396
                                               Attorney for the Chapter 13 Trustee
                                               4725 S. Monaco St., Ste. 150
                                               Denver, CO 80237
                                               (720) 398-4444
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                                     CERTIFICATE OF MAILING
        I hereby certify that a true and correct copy of the above Objection to Claim of Exemption in
Property and Notice was placed in the U.S. Mail, postage prepaid, on November_21, 2018 addressed
as follows:

Dennis K. Obduskey
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/s/Elizabeth Edlen_________
Chapter 13 Trustee Staff Member
